Case 2:23-cr-20191-MSN           Document 827 Filed 06/04/25              Page 1 of 2      PageID
                                          15823



                              UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                       AT MEMPHIS

UNITED STATES OF AMERICA
                                                                     No: 2:23cr20191 MSN
v.

DESMOND MILLS, JR.


                           MOTION TO CONTINUE SENTENCING


       COMES NOW Defendant, Desmond Mills, Jr., by and through counsel, Blake D. Ballin,

and respectfully moves this court to continue his sentencing hearing and in support would show

as follows:

       That this matter is currently scheduled for a sentencing hearing on June 17, 2025, at 1:30

p.m.

       That at this sentencing hearing, Mr. Mills intends to present character witnesses for the

court’s consideration.

       That one of these character witnesses is a clergy member who will be at a week long

conference in Ohio the week of June 16, 2025.

       That in order to allow the defendant an opportunity to present all necessary witnesses on

his behalf and to conduct a full and fair sentencing hearing, the defendant respectfully requests

that the sentencing hearing be continued.

       That additionally, Mr. Mills is the father of young children. Mr. Mills and his family,

including his wife, will be traveling to court for this hearing from outside of the Western

District of Tennessee. As a result, Mr. Mills needs to secure child care for his young children.

Mr. Mills and his wife had arranged for his sister-in-law to care for the children while he, his


                                                 1
Case 2:23-cr-20191-MSN           Document 827 Filed 06/04/25             Page 2 of 2       PageID
                                          15824



wife and other members of his family attend the sentencing hearing. However, Mr. Mills’s

sister-in-law is also a member of the clergy and, along with the aforementioned character

witness, will be attending the conference in Ohio the week of June 16, 2025.

       That because of the unavailability of a necessary character witness and the inability to

secure child care for June 17, 2025, the defendant respectfully requests a continuance of his

sentencing hearing to the following week. If granted, counsel for the defendant is available June

23, 2025, through June 26, 2025, and would prefer an afternoon setting to accommodate

counsel’s schedule.

       That Counsel for the defendant has consulted with Assistant U.S. Attorney David

Pritchard and he has no objection to this request.

       WHEREFORE, PREMISES CONSIDERED. Defendant, Desmond Mills, prays for a

continuance of his sentencing hearing for the reasons set out herein above.

                                                      Respectfully submitted,
                                                      BALLIN, BALLIN & FISHMAN, P.C.

                                                      /s/Blake D. Ballin, Esq.
                                                      200 Jefferson Avenue, Suite 1250
                                                      Memphis, TN 38103
                                                      (901) 525-6278
                                                      Attorney for Defendant

                            CERTIFICATE OF CONSULTATION

       I, Blake D. Ballin, hereby certify that I have consulted with David Pritchard regarding
this matter and the government has no objection to this request.

                                                      /s/Blake D. Ballin, Esq.

                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served upon all
interested parties via ECF email system this the 4th day of June, 2025.

                                                      /s/Blake D. Ballin, Esq.

                                                 2
